                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


    In re:                                                       Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-CRJ11
    et al.,1
                                                                 Jointly Administered
                                Debtors.


     GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS AND
    DISCLAIMER REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS
______________________________________________________________________________
        Remington Outdoor Company, Inc. (“Remington”) and its affiliated (collectively, the
“Affiliates”) entities, as debtors and debtors in possession (Remington and the Affiliates,
collectively, the “Debtors”) in these chapter 11 cases commenced on July 27, 2020 (the “Petition
Date”), herewith file their respective Schedules of Assets and Liabilities (collectively, the
“Schedules”) and Statements of Financial Affairs (collectively, the “Statements” and, together
with the Schedules, the “Schedules and Statements”) in the United States Bankruptcy Court for
the Northern District of Alabama (the “Bankruptcy Court”). The Debtors, with the assistance of
their advisors, prepared the Schedules and Statements in accordance with section 521 of title 11 of
the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”).

        Mark Little, Chief Financial Officer, in his capacity as an authorized agent of each of the
Debtors, has signed the Schedules and Statements for each of the Debtors. In reviewing and
signing the Schedules and Statements, Mr. Little has necessarily relied upon the efforts, statements,
and representations of various personnel of the Debtors and the Debtors’ advisors. Mr. Little has
not (nor could he have) personally verified the accuracy of each such statement and representation,
including statements and representations concerning amounts owed to creditors.

        These Global Notes and Statement of Limitations, Methods, and Disclaimer Regarding the
Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated by reference
in, and comprise an integral part of all of the Schedules and Statements. The Global Notes should
be referred to and reviewed in connection with any review of the Schedules and Statements.


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
AL 35824.




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       The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States of America
(“GAAP”), nor are they intended to be fully reconciled to the Debtors’ consolidated financial
statements. The Schedules and Statements contain unaudited information that is subject to further
review and potential adjustment. In preparing the Schedules and Statements, the Debtors relied
on financial data derived from their books and records that were available at the time of such
preparation. Although the Debtors have made reasonable efforts to ensure the accuracy and
completeness of such financial information, subsequent information or discovery may result in
material changes to the Schedules and Statements. As a result, the Debtors are unable to warrant
or represent that the Schedules and Statements are without inadvertent errors, omissions, or
inaccuracies, some of which may be material.

                     General Disclosures Applicable to Schedules and Statements

        1.      General Reservation of Rights. Nothing contained in the Schedules and Statements
shall constitute a waiver of any of the Debtors’ rights or an admission with respect to their chapter
11 cases, including any issues involving substantive consolidation, equitable subordination,
defenses, and/or Claims2 or causes of action arising under the provisions of chapter 5 of the
Bankruptcy Code and any other applicable laws to recover assets or avoid transfers. Any specific
reservation of rights contained elsewhere in the Global Notes does not limit in any respect the
general reservation of rights contained in this paragraph.

        2.      References. Reference to the applicable loan agreements and documents related
thereto is necessary for a complete description of the collateral and the nature, extent, and priority
of liens. Nothing in the Global Notes or the Schedules and Statements shall be deemed a
modification or interpretation of the terms of such agreements. Property and equipment listed in
the Schedules and Statements are presented without consideration of any liens that may attach or
have attached to such property and equipment.

        3.     Amendments and Supplements. Although the Debtors made reasonable efforts to
file complete and accurate Schedules and Statements, inadvertent errors or omissions may exist.
The Debtors reserve all rights to amend or supplement the Schedules and Statements as may be
necessary and appropriate. Moreover, the Debtors continue their review of Claims that have been
or may be asserted and the assets of the estates.

        4.     Recharacterization. Notwithstanding that the Debtors have made reasonable efforts
to correctly characterize, classify, categorize, or designate certain Claims, assets, executory
contracts, unexpired leases, and other items reported in the Schedules and Statements, the Debtors
nonetheless may have improperly characterized, classified, categorized, or designated certain
items. The Debtors reserve all rights to recharacterize, reclassify, recategorize, or redesignate
items reported in the Schedules and Statements at a later time as may be necessary and appropriate.

       5.      Liabilities. The Debtors allocated liabilities between the prepetition and
postpetition periods based on the information available and research conducted in connection with

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    As used herein, the term “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.


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the preparation of the Schedules and Statements and consolidated financial statements. As
additional information becomes available and further research is conducted, the allocation of
liabilities between the prepetition and postpetition periods may change.

        6.      Insiders. As used in the Statements and Schedules, the term “insiders” refers to
Remington’s board of directors (the “Board”), Chief Executive Officer, Chief Financial Officer,
and Chief Operating Officer. Persons listed as “insiders” have been included solely for
informational reporting purposes with respect to the Schedules and Statements, and such listing is
not intended to be, nor should it be construed as, a legal characterization of such person as an
insider, and does not act an admission of any fact, claim, right, or defense, and all such rights,
claims, and defenses with respect thereto are hereby expressly reserved. The Debtors do not take
any position with respect to: (a) such person’s influence over the control of the Debtors; (b) the
management responsibilities or functions of such individual; (c) the decision-making or corporate
authority of such individual; or (d) whether such individual could successfully argue that he or she
is not an “insider” under applicable law, including federal securities laws, or with respect to any
theories of liability or for any other purpose.

         7.     Accounts Payable, Disbursements and Intercompany Transactions. The Debtors
utilize an integrated cash management system and periodically transfer funds among the Debtors.
For additional information regarding the Debtors’ intercompany transactions and related cash
management protocols, see Debtors’ Motion for Interim and Final Orders (I) Authorizing the
Debtors to (A) Continue Operating Cash Management System and Bank Accounts, (B) Honor
Certain Prepetition Obligations Related Thereto, (C) Continue Performing and Granting
Administrative Priority for Intercompany Transactions, (II) Waiving Certain Bankruptcy
Administrator Requirements, (III) Granting the Debtors an Extension to Comply with the
Requirements of Section 345 (b) of the Bankruptcy Code, and (IV) Granting Related Relief [D.I.
14], and Order thereon [D.I. 295]. Predominantly, the Debtor’s obligations are paid by and/or
through any of three entities (Remington Outdoor Company, Inc., Remington Arms Company,
LLC, and FGI Operating Company, LLC), notwithstanding the fact that such obligations may,
technically, be obligations of one or more of the affiliated Debtors.

        8.       Executory Contracts. The Debtors have not included executory contracts as assets
in the Schedules and Statements. The Debtors’ executory contracts (save and except for employee
employment agreements and contracts ancillary thereto) have been listed in Schedule G. The
Debtors have made diligent attempts to properly identify all executory contracts and unexpired
leases, however, inadvertent errors, omissions, or overinclusion may have occurred. The Debtors
reserve the right to assert that any contract listed in Schedule G does or does not satisfy the
applicable requirements to be treated as an executory contract. Such agreements may be
reclassified as assets or liabilities. Further, the Debtors’ rejection of executory contracts may result
in the assertion of rejection damages claims; however, the Schedules and Statements do not reflect
any claims for rejection damages. The Debtors and their estates reserve any and all rights with
respect to the assertion of any such claims.

        9.     Setoffs. The Debtors incur certain setoffs and other similar rights from customers
or suppliers in the ordinary course of business. Setoffs in the ordinary course can result from
various items, including without limitation intercompany transactions, pricing discrepancies,
returns, refunds, debit memos, credits, and other disputes between the Debtors and their suppliers

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or customers. These normal setoffs and other similar rights are consistent with the ordinary course
of business in the Debtors’ industry and can be voluminous, making it unduly burdensome and
costly for the Debtors to list such ordinary course setoffs. Therefore, although such setoffs and
other similar rights may have been accounted for when scheduling certain amounts, setoffs are not
independently accounted for, and accordingly, certain setoffs may be excluded from the Schedules
and Statements.

       10.    Claims Description. Any failure to designate a Claim on a given Debtor’s
Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the Debtor that such amount is not “disputed,” “contingent,” or “unliquidated.” The
Debtors reserve all rights to dispute any Claim reflected on their respective Schedules and
Statements on any grounds, including, without limitation, liability or classification, or to otherwise
subsequently designate such Claims as “disputed,” “contingent,” or “unliquidated.”

        11.     Excluded Assets and Liabilities. The Debtors have excluded rejection damage
Claims of counterparties to executory contracts and unexpired leases that may be rejected, to the
extent such damage Claims exist. In addition, certain immaterial assets and liabilities that are not
reported or tracked centrally may have been excluded.

        12.      Causes of Action. Despite reasonable efforts, the Debtors may not have identified
and/or set forth all of their Claims and causes of action (filed or potential) against third parties as
assets in their Schedules and Statements. The Debtors reserve all rights with respect to any causes
of action and nothing in the Global Notes or the Schedules and Statements shall be deemed a
waiver of any such Claims and causes of action.

       13.     Confidential or Sensitive Information. There may be instances in which certain
information in the Schedules and Statements intentionally has been redacted due to the nature of
an agreement between a Debtor and a third-party, concerns regarding the confidential or
commercially sensitive nature of certain information, or concerns for the privacy of an individual.

        14.    Current Value — Net Book Value. In many instances, current market valuations
are neither maintained by, nor readily available to, the Debtors. It would be prohibitively
expensive and unduly burdensome to obtain current market valuations of the Debtors’ assets.
Accordingly, unless otherwise indicated herein, the Schedules and Statements reflect net book
values of the Debtors’ assets as of the Petition Date, or, in some instances, the Net Book Value as
reported in the most recent accounting close period (unless another date is indicated herein or
individually in the Schedules and Statements). Net book values may differ materially from any
current market or net realizable value. The Debtors’ cash balances represent bank balances as of
the Petition Date.

        15.   Undetermined Amounts. The description of an amount as “unknown” or
“undetermined” is not intended to reflect upon the materiality of such amount. Such terms are
used interchangeably in the Statements and Schedules.

       16.     Totals. Except as otherwise stated herein, all totals that are included in the
Schedules and Statements represent the total of all known amounts included in the Debtors’ books
and records as of the Petition Date. To the extent there are unknown or undetermined amounts,


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the actual total may be different than the listed total. To the extent that a Debtor is a guarantor of
debt held by another Debtor, the amounts reflected in these Schedules are inclusive of each
Debtor’s guarantor obligations. Further, certain Claims, whether listed as secured or otherwise,
may represent potential Claims that a claimant may assert against each specific Debtor, and, in
certain instances have been scheduled in this manner. Accordingly, adding the reported Claim
amounts across all thirteen Debtor Schedules or Statements may be duplicative and may not reflect
the total claims for all of the Debtors on a consolidated basis.

         17.     Intellectual Property. The Debtors have used reasonable efforts to identify and list
all intellectual property. Exclusion of certain intellectual property shall not be construed as an
admission that such intellectual property rights have been abandoned, assigned, terminated,
expired by their terms, or otherwise transferred pursuant to a sale, acquisition, or other transaction.
The Debtors make no warranty with respect to the intellectual property, listed or otherwise.

        18.    Leases. In the ordinary course of their business, the Debtors lease property and
equipment from certain third-party lessors for use in daily operations. These leases are identified
in Schedule G, but the property subject to any of these leases is not reflected in Schedule A/B as
either owned property by or assets of the Debtors. Property subject to any of these leases is also
not reflected in the Statements as property or assets of third parties within the control of the
Debtors. Nothing in the Schedules or Statements is or shall be construed as an admission or
determination as to the legal status of any lease (including whether any lease is a true lease or a
financing arrangement), and the Debtors reserve all rights with respect to any of such issues.

         19.     Entity Classification Issues. The Debtors have endeavored in good faith to identify
the assets owned by each Debtor, the liabilities owed by each Debtor, and the Debtor that is a
counterparty to executory contracts and unexpired leases. While the Schedules reflect the results
of this effort, several factors may impact the ability of the Debtors to precisely assign assets,
liabilities, and executory contracts and unexpired leases to particular Debtor entities, including but
not limited to: (a) certain assets and executory contracts and unexpired leases may be primarily
used by a Debtor other than the entity which holds title to such assets or is a party to such executory
contract and unexpired lease according to the Debtors’ books and records; (b) the Debtor entity
that owns or holds title to certain assets or is a party to certain executory contracts and unexpired
leases may not be ascertainable; (c) certain liabilities may have been nominally incurred by one
Debtor, yet such liabilities may have actually been incurred by, or the invoices related to such
liabilities may have been issued to or in the name of, another Debtor; and (d) certain creditors of
the Debtors may have treated one or more of the Debtors as a consolidated entity rather than as
differentiated entities. In addition, the Debtors note that financial statements have historically only
been produced by the Debtors on a consolidated basis, and certain accounting processes and
general ledger activities have occurred to support preparation of these consolidated financial
statements, and not stand-alone financial statements for each Debtor.

                         General Disclosures Applicable to Statements

        1.     Question 1. The amounts listed in response to Question 1 include net revenue (not
gross revenue) billed to customers by the applicable Debtor. In the normal course of business, the
Debtors incur or process a variety of deductions to Gross Revenue, such as returns, discounts, and


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excise taxes, to arrive at net revenue. Net revenue is the metric generally used internally to
evaluate performance and the amount generally reported on external financial statements.

        2.     Question 2. The amounts listed in response to Question 2 include gross income
generated by sales into which the Debtors entered in the ordinary course, but not from the operation
of the Debtors’ business.

        3.     Question 3. The information provided lists payments made by a Debtor within 90
days of the Petition Date on behalf of itself or on behalf of another Debtor in accordance with
routine business practices. Amounts include the funding of payroll to ADP. Certain items may
be duplicative of the information supplied in Statement question 4. The amounts listed in
Statement 3 reflect the Debtors’ disbursements based on check or wire detail; thus, to the extent a
disbursement was made to pay for multiple invoices, only one entry has been listed. Amounts paid
by check or wire are included based on the date of issuance. The schedule list payments made
within 90 days to “creditors”. However the schedule includes payments to a number of
professionals who have been retained in this case, including in accordance with Bankruptcy Court
orders. Payments to professionals may represent prepayments or replenishment of professional
fee retainers.

       4.       Question 4 and 30. Includes all payments to the Board, Chief Executive Officer,
Chief Financial Officer, and Chief Operating Officer within one year preceding the case. Any
required details for Question 30 are addressed with the information provided in Question 4.

        5.     Question 7. The Debtors and their estates reserve all rights, claims, and defenses
with respect to any and all listed lawsuits and administrative proceedings (or potential lawsuits
and administrative proceedings). The listing of any such lawsuits and proceedings does not
constitute an admission by the Debtors and their estates of any liabilities or that the actions or
proceedings were correctly filed against the Debtors. The Debtors and their estates reserve all
rights to assert that the Debtors are not an appropriate party or parties to such actions or
proceedings. The Debtors may not have included on Statement 7 certain parties that may have
asserted informal workers’ compensation claims or other claims that were resolved or otherwise
addressed without formal litigation or an administrative hearing, or those for which such or similar
proceeding were never commenced.

        6.     Question 9. The Debtors have not made any cash contributions. However, from
time to time, in kind contributions are made to sponsors and non-profits who in return provide
benefits to the Debtors, typically in the form of product and brand advertisements and product
purchase programs. The specific value each recipient provides to Remington is unknown and not
measurable. While the Debtors have made reasonable efforts to ensure a comprehensive listing,
given the magnitude of the Debtors’ operations, certain gifts may have been omitted inadvertently
from the Statements.

        7.      Question 7. The Debtors have listed those legal disputes and administrative
proceedings that are pending in a judicial or an administrative forum. Any information included
in the Debtors’ Schedules and Statements shall not be binding on the Debtors with respect to any
of the suits and other proceedings identified therein.



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        8.     Question 10. The Debtors occasionally incur losses for a variety of reasons,
including theft, asserted physical injury, and property damage. Although such losses are tracked
internally and subject to internal review processes before payments are authorized, the Debtors
may not have records of all such losses to the extent such losses do not have a material effect on a
Debtor’s business or are not reported for insurance purposes.

        9.      Question 11. The amounts listed in response to Question 11 include payments
made to professionals retained by or on behalf of the Debtors for services concerning restructuring,
relief under bankruptcy law, or preparation of bankruptcy petitions, as well as retainers. Certain
of the Debtors’ professionals provided services for matters other than bankruptcy or restructuring
and the amounts listed include fees and expenses related to such non-bankruptcy and/or
restructuring matters. The list also includes amounts paid to professionals representing certain
lenders which were paid pursuant to the requirements of the applicable credit agreements. The
amounts listed in Statement 3 reflect the Debtors’ disbursements based on check or wire detail;
thus, to the extent a disbursement was made to pay for multiple invoices, only one entry has been
listed. Amounts paid by check or wire are included based on the date of issuance.

      10.    Question 17.     The Debtors’ schedules exclude amounts pertaining to the
Supplemental Executive Retirement Plan.

       11.       Question 20. Certain offsite storage facilities are scheduled at Remington Arms
Company, LLC, as the primary account holder. However, corporate records housed at these
storage facilities may include records for other Debtors.

       12.    Question 26(a), (c). The Debtors have listed those individuals and/or firms that
have been identified as having the primary responsibility to maintain or supervise the keeping of
the Debtors’ books and records. Notwithstanding this listing, additional parties not listed may
have had access to the Debtors’ books and records. In addition to their headquarters in Huntsville
Alabama, the Debtors’ books and records exist in various offices and locations and some
accounting personnel in possession of corporate records work in the Debtors’ Madison, NC office.

        13.     Question 23 and 24. The Debtors have disclosed three recent environmental
inspections which occurred with respect to the Debtors’ Ilion, NY facility. The environmental
notifications or administrative actions are currently pending. While the Debtors have disclosed
these items and have noted them as pending, the Debtors believe all corrective action has occurred
and potential issues have been fully remedied. Further, the Debtors do not expect fines for the
items listed, and if a fine were to be asserted, the Debtors do not believe it would be material.

        14.     Question 26(b), (d). The Debtors have provided financial statements to certain
lenders, owners, financial institutions, creditors, potential sale bidders, and other parties
throughout the ordinary course of business. Considering the number of such recipients, the
confidentiality restrictions to which the Debtors have been bound in certain circumstances, and the
possibility that such information may have been shared with parties without the Debtors’
knowledge or consent, the Debtors have not disclosed any parties that may have received such
financial statements for the purposes of Question 26(d).




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       15.     Question 27. The last date on which the Debtors undertook an inventory count at
their Southaven, MS Distribution Center was 1/6/2020. For all other locations, the Debtors
conduct cycle counts periodically throughout the year.

        16.    Question 28. For purposes of the Statements, the directors and officers that have
been disclosed include the Board, Chief Executive Officer, Chief Financial Officer, and Chief
Operating Officer. Certain other non-executive officers may exist. The Debtors have disclosed
certain controlling shareholders; please refer to the Declaration of Ken D’Arcy in Support of
Chapter 11 Petitions and First Day Pleadings of Remington Outdoor Company, Inc. and its
Affiliated Debtors and Debtors in Possession, filed 7/28/20 [D.I. 6] at p. 45, for a chart of the
Debtors’ structure.

                         General Disclosures Applicable to Schedules

        1.       Classifications. Listing a Claim on (a) Schedule D as “secured,” (b) Schedule E/F
(Part 1) as “priority,” or (c) Schedule E/F (Part 2) as “unsecured,” or a contract on Schedule G as
“executory” or “unexpired,” or including on Schedule G a notation regarding the potential contract
term or other period remaining, does not in each case constitute an admission by the Debtors of
the legal rights of the Claimant, or a waiver of the Debtors’ right to recharacterize or reclassify
such Claim or contract and/or avoid any transfer or obligation. The Debtors reserve all of their
rights with respect to any Claims and causes of action that they may have, and neither these Global
Notes nor the Schedules and Statements shall be deemed a waiver of any such Claims and causes
of actions, or in any way waive, prejudice, impair, or otherwise affect the assertion of such Claims
and causes of action.

        2.      Schedule A/B. Despite their commercially reasonable efforts to identify all known
assets, the Debtors may not have listed all of their respective causes of action or potential causes
of action against third parties as assets in their respective Schedules and Statements, including but
not limited to causes of action arising under the Bankruptcy Code or any other applicable laws to
recover assets or avoid transfers. The Debtors reserve all of their rights with respect to any Claims
and causes of action that they may have, and neither these Global Notes nor the Schedules and
Statements shall be deemed a waiver of any such Claims and causes of actions, or in any way
waive, prejudice, impair, or otherwise affect the assertion of such Claims and causes of action.

The Debtors’ owned real estate, machinery, equipment, and other “PPE” property, plant, and
equipment, along with intangibles, have all been presented at Net Book Value. Net book values
may differ materially from any current market or net realizable value.

       •   Schedule A/B 3: The amounts listed represent bank balances as of the close of business
           on the Petition Date. The Wells Fargo account (account number 1084) was open as of
           the Petition Date, however the Debtors are in the process of closing the account.
           Certain accounts including the Professional Fee Reserve, Adequate Assurance Utility
           Deposit Account, DIP Deposit Account, and Performance Deposit Account held were
           opened in preparation for the bankruptcy case and held minimal balances as required
           to open the account. As the balances are as of the Petition Date, they do not reflect
           certain deposit amounts that may be required by interim and final first day orders.



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         Certain amounts listed may have been deemed restricted cash due to various credit
         agreements or collateralization requirements related to letters of credit. As such, a
         material amount of cash held by the Debtors on the Petition Date was not available for
         use of operations.

     •   Schedule A/B 7: Unused retainers and advances which may be held by various
         professionals in this case are not included as deposits. They are reflected on the
         applications filed by such professionals in the cases.

     •   Schedule A/B 8: A number of items listed include prepaid insurance. Although the
         Debtors record prepaid insurance on the books of FGI Operating Company, LLC, the
         Debtors maintain insurance policies for the benefit of each Debtor, and Remington
         Outdoor Company, Inc. is a named insured on each of the insurance policies.

         A number of items listed include prepayments of materials and inventory. These
         prepayments were made in the ordinary course of business and may have been applied
         to shipments received since the petition date.

     •   Schedule A/B 11: Amounts represent only third-party customer receivables and do
         not include intercompany receivables. In some instances, reserves for doubtful or
         uncollectible accounts may be booked only at Remington Arms Company, LLC;
         however, for the purposes of the Schedules, the reserve has been applied to each Debtor
         scheduled.

     •   Schedule A/B 15: Ownership interests in businesses, partnerships, and joint ventures
         (including any subsidiaries) have been listed in Schedule A/B 15 as unknown or
         undetermined. As the Debtors have historically only produced financial statements on
         a consolidated basis, certain accounting processes and general ledger activity have not
         occurred that would enable stand-alone financial statements for each Debtor to be
         prepared, and accordingly, appropriate values for the Debtors’ interests in business,
         partnerships, and joint ventures (including any subsidiaries) that are part of the
         consolidated group. The fair market value of such ownership is dependent on
         numerous variables and factors and may differ significantly from the listed net book
         value.

     •   Schedule A/B 72: Certain debtors have tax attributes (e.g., net operating losses) listed
         as assets. Federal and State tax laws impose substantial restrictions on the utilization
         of net operating loss and capital loss carryforwards in the event of an “ownership
         change” for tax purposes, as defined in Section 382 of the Internal Revenue Code. The
         utilization of these tax attributes may be limited.

     •   Schedule A/B 8 and 73: The Debtors maintain a number of insurance policies as
         documented in the Debtors’ first day motions and orders relating to such insurance
         programs. Schedule 8 lists the prepaid amounts which represents the remaining amount
         to be amortized over the life of such policy. Schedule 73 does not list any values as
         those policies are listed in Schedule 8, if applicable. A determination as to the surrender
         or refund value of each of the insurance policies has not been made.

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        3.      Schedule D. Except as otherwise agreed pursuant to a stipulation or order entered
by the Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the validity,
perfection, or immunity from avoidance of any lien purported to be granted or perfected in any
specific asset of a secured creditor listed on Schedule D of any Debtor. Moreover, although the
Debtors have scheduled Claims of various creditors as secured Claims, the Debtors reserve all of
their rights to dispute or challenge the secured nature of any such creditor’s Claim or the
characterization of the structure of any such transaction or any document or instrument related to
such creditor’s Claim.

        Moreover, the Debtors have not included on Schedule D parties that may believe their
Claims are secured through setoff rights, inchoate statutory or asserted common law lien rights,
putative consignment interests, or other purported ownership status. The creditor names that are
listed represent what the Debtors believe to be the complete list of creditors holding such debt
instruments (to the extent that this information has been provided to the Debtors; however, certain
other holders may exist). The amounts outstanding under the Debtors’ prepetition loan facilities
reflect approximate amounts as of the Petition Date. To the extent the Debtors have paid or pay
any of the Claims listed in Schedule D, the Debtors reserve all rights to amend or supplement the
Schedules and Statements or take other action such as filing Claims objections, as is necessary and
appropriate to avoid overpayment or duplicate payments for liabilities.

        Schedule D provides for disclosure of lenders that may be classified as insiders. Funds and
accounts managed by (a) Franklin Advisers, Inc. are lenders under the FILO Term Loan
Agreement and the Exit Term Loan Agreement, (b) J.P. Morgan Chase Bank, N.A. and J.P.
Morgan Investment Management, Inc. are lenders under the Exit Term Loan Agreement, and (c)
Lord, Abbett & Co., LLC are lenders under the Exit Term Loan Agreement. The majority of the
common stock of Remington Outdoor Company, Inc. is held by Cede & Co. as the nominal holder.
However, the Debtors are informed and believe that (i) funds and accounts managed (but not
owned) by Franklin Advisers, J.P. Morgan Chase Bank, N.A., J.P. Morgan Investment
Management, Inc., and Lord, Abbett & Co., LLC hold shares and debt securities issued by
Remington Outdoor Company, Inc. and its affiliates; (ii) the percentage of shares owned by the
separate funds and accounts managed by Franklin Advisers, Inc., if aggregated, exceeds 50% of
the total equity of Remington Outdoor Company, Inc.; (iii) the percentage of shares owned by the
separate funds and accounts managed by J.P. Morgan Investment Management, Inc. and JPMorgan
Chase Bank, N.A., if aggregated, exceeds 10% of the total equity of Remington Outdoor Company,
Inc.; and (iv) at least one individual fund or account managed by Franklin Advisers, Inc. holds
more than 10% of the equity of Remington Outdoor Company, Inc. The Debtors are not able to
independently verify these holdings.

        4.      Schedule E/F (Part 1). The listing of any Claim on Schedule E/F (Part 1) does not
constitute an admission by the Debtors that such Claim is entitled to priority treatment under
section 507 of the Bankruptcy Code. The Debtors reserve all of their rights to dispute the amount
and the priority status of any Claim on any basis at any time. Certain Claims listed on the Debtors’
Schedule E/F (Part 1) are Claims owing to various taxing authorities to which the Debtors may
potentially be liable.

        The Bankruptcy Court authorized (but did not direct) the Debtors to pay certain outstanding
prepetition Claims pursuant to various orders entered by the Bankruptcy Court, including but not

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limited to certain wage, benefit, and tax claims under the Amended Final Order (I) Authorizing
the Debtors to (A) Pay Prepetition Wages, Salaries, and Other Compensation, and Employee
Benefits and (B) Continue Existing Employee Benefits and (B) Continue Existing Employee Benefit
Plans and Programs and (II) Authorizing Financial Institutions to Pay All Checks and Electronic
Payment Requests [D.I. 386]. Accordingly, certain outstanding liabilities as of the Petition Date
may have been reduced by postpetition payments made on account of prepetition liabilities. Such
payments, to the extent made on a date before the Schedules were filed, have been reflected in
Schedule E. To the extent that the Debtors have paid or pay any of the Claims listed in Schedule
E/F (Part 1) pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all rights
to amend or supplement the Schedules and Statements or take other action such as filing Claims
objections, as is necessary and appropriate to avoid overpayment or duplicate payments for
liabilities.

        5.      Schedule E/F (Part 2). The Debtors have used reasonable efforts to report all
general unsecured Claims against the Debtors on Schedule E/F (Part 2) based upon the Debtors’
existing books and records as of the Petition Date. The Claims of individual creditors for, among
other things, products, goods, or services are listed based upon the Debtors’ books and records and
may not reflect credits or allowances due from such creditors to the applicable Debtor(s). In
addition, certain Claims listed on Schedule E/F (Part 2) may be entitled to priority under section
503(b)(9) of the Bankruptcy Code.

        Schedule E/F (Part 2) contains information regarding pending litigation involving the
Debtors. The dollar amount of potential Claims associated with any such pending litigation may
be listed as “undetermined” or may have a claim amount included; such Claims are marked as
contingent, unliquidated, and disputed in the Schedules and Statements except to the extent such
Claims have already escheated to the estate.

        To the extent the Debtors have paid or pay any of the Claims listed in Schedule E/F (Part
2) pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend
or supplement the Schedules and Statements or take other action such as filing Claims objections,
as is necessary and appropriate to avoid overpayment or duplicate payments for liabilities.

         Certain vendors listed on this Schedule may have rights to apply their prepetition balance
to a letter of credit for which such vendor is the beneficiary.

        6.      Schedule G. While every effort has been made to ensure the accuracy of Schedule
G, inadvertent errors or omissions may have occurred. Each contract and unexpired lease listed in
Schedule G may include one or more ancillary documents, including any underlying assignment
and assumption agreements, amendments, supplements, full and partial assignments, renewals,
and partial releases. Certain of the leases and contracts listed on Schedule G may contain certain
renewal options, guarantees of payment, options to purchase, rights of first refusal, and other
miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on Schedule G.
In addition, the Debtors may have entered into various other types of agreements in the ordinary
course of business, such as financing agreements, subordination, nondisturbance agreements,
supplemental agreements, amendments/letter agreements, title agreements, and confidentiality
agreements. Such documents may not be set forth on Schedule G. Certain of the contracts,
agreements, and leases listed on Schedule G may have been entered into by more than one of the

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Debtors. In some cases, the same supplier or provider may appear multiple times in Schedule G.
This multiple listing is to reflect distinct agreements between the applicable Debtor and such
supplier or provider.

        The Debtors hereby reserve all of their rights to dispute the validity, status, or
enforceability of any contracts, agreements, or leases set forth in Schedule G and to amend or
supplement such Schedule as necessary. Inclusion of any agreement on Schedule G does not
constitute an admission that such agreement is an executory contract or unexpired lease, and the
Debtors reserve all rights including without limitation to assert that any agreement is not executory,
has expired pursuant to its terms, or was terminated prepetition.

        7.      Schedule H. The Debtors that are the obligors under the post-petition credit facility
and certain prepetition obligations are listed as Co-Debtors on Schedule H. The Debtors may not
have identified certain guarantees associated with the Debtors’ executory contracts, unexpired
leases, secured financings, debt instruments, and any other such agreements (if any). The Debtors
reserve all rights to amend the Schedules, including without limitation to remove any, some, or all
Debtors as obligors if and to the extent that the Debtors have paid or pay any of the Claims listed,
including without limitation Claims listed in Schedule D.




                                                 12

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                                  UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ALABAMA
                                         NORTHERN DIVISION

                                                                           )
         In re:                                                            ) Chapter 11
                                                                           )
         REMINGTON OUTDOOR COMPANY, INC., et                               ) Case No. 20-81688 (CRJ)
         al., 1
                                                   )
                                    Debtors.       ) Jointly Administered
                                                   )
                      SCHEDULE OF ASSETS AND LIABILITIES FOR
                     FGI HOLDING COMPANY, LLC (CASE NO. 20-81689)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522);
RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville,
Alabama 35824.




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                                  Main Document    Page 13 of 33
 Fill in this information to identify the case:

 Debtor name            FGI Holding Company, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ALABAMA

 Case number (if known)               20-81689
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     241,207,574.49


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     108,477,163.52


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        349,684,738.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         FGI Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-81689
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                             debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used    Current value of
                                                                                                     for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     FGI Operating Company, LLC                                     100       %      N/A                                   Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 1
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 Debtor         FGI Holding Company, LLC                                                     Case number (If known) 20-81689
                Name



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                         $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor          FGI Holding Company, LLC                                                                            Case number (If known) 20-81689
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
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 Fill in this information to identify the case:

 Debtor name          FGI Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)              20-81689
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
        See Attached Schedule D,
 2.1                                                                                                                $241,207,574.49                        $0.00
        Part 1                                        Describe debtor's property that is subject to a lien
        Creditor's Name




        Creditor's mailing address                    Describe the lien


                                                      Is the creditor an insider or related party?
                                                          See Attached Schedule D, Part1
        Creditor's email address, if known
                                                      Is anyone else liable on this claim?

        Date debt was incurred                              See Attached Schedule D, Part1

        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
             YES                                         Contingent
                                                         Unliquidated
        See Attached Schedule D, Part1
                                                         Disputed




                                                                                                                        $241,207,574
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                .49

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                                                                                                In re FGI Holding Company, LLC
                                                                                                       Case No. 20-81689
                                                                              Schedule D: Part 1 - Creditors Who Have Claims Secured by Property




                                                                                                                                Insider or Related Party?
                                                                                                                                                                             If Multiple Creditors                                                                                                                 Value of




                                                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                            Have in Interest in the                                                                                            Amount of Claim    Collateral




                                                                                                                                                                                                                                                       Contingent
                                                                                                                                                                CoDebtor
                                                                                                            Last 4 Digits of                                               Same Property, Specific Date Debt was Incurred, Description of Debtor's                                              (Do not deduct       that




                                                                                                                                                                                                                                                                                    Disputed
                                                                                                               Account                                                       Each Creditor and Its    Property Subject to the Lien and the Nature of                                           the value of the    Supports
               Creditor Name                           Address1        City State Zip         Country Email    Number                                                           Relative Priority                           Lien                                                                  collateral)     this Claim
ANKURA TRUST COMPANY, LLC, as agent      214 NORTH MAIN STREET      CONCORD NH 03301                                           Yes x                                       FILO Term Loan Facility Date debt was incurred = May 15, 2018                                                         $55,000,000.00   Unknown
                                                                                                                                                                                                    Describe debtor's property = As defined by the
                                                                                                                                                                                                    credit documents
                                                                                                                                                                                                    Describe the lien = First In Last Out Loan
ANKURA TRUST COMPANY, LLC, as agent      214 NORTH MAIN STREET      CONCORD NH    03301                                        Yes x                                       Exit Term Loan Facility Date debt was incurred = May 15, 2018                                                       $110,707,574.49 Unknown
                                                                                                                                                                                                    Describe debtor's property = As defined by the
                                                                                                                                                                                                    credit documents
                                                                                                                                                                                                    Describe the lien = Exit Term Loan
CANTOR FITZGERALD SECURITIES, as agent   110 EAST 59TH STREET       NEW YORK NY   10022                                        No                           x              Senior Priority Term     Date debt was incurred = April 18, 2019                                                     $75,500,000.00 Unknown
                                                                                                                                                                           Loan                     Describe debtor's property = As defined by the
                                                                                                                                                                                                    credit documents
                                                                                                                                                                                                    Describe the lien = Priority Term Loan
                                                                                                                                                                                                                                                                                   Total: $241,207,574.49




                                                                                                            1 of 1

                                                                  Case 20-81688-CRJ11     Doc 440 Filed 08/24/20 Entered 08/24/20 22:54:00                                                    Desc
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 Fill in this information to identify the case:

 Debtor name         FGI Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)           20-81689
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $108,477,163.52
           See Attached Schedule E/F Part 2                                     Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                           0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                 108,477,163.52

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                    108,477,163.52




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 1
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                                                                                                      In re FGI Holding Company, LLC
                                                                                                              Case No. 20-81689
                                                                                     Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                                                                Claim subject to offset?
                                                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                                                                        Contingent




                                                                                                                                                                                                                                                                    Disputed
       Creditor Name                           Address1    Address2                City                     State            Zip           Country        Last 4 Digits of Account Number     Date Debt was Incurred, Basis for Claim                                                                       Total Claim
FGI Operating Company, LLC   100 Electronics Blvd SW                  Huntsville                       AL                          35824                                                    Intercompany Payable                                                                                           $108,477,163.52
                                                                                                                                                                                                                                                                               Total:                      $108,477,163.52




                                                                                                                    1 of 1
                                                Case 20-81688-CRJ11          Doc 440 Filed 08/24/20 Entered 08/24/20 22:54:00                                                                                         Desc
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 Fill in this information to identify the case:

 Debtor name         FGI Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-81689
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                             Main Document    Page 22 of 33
 Fill in this information to identify the case:

 Debtor name         FGI Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-81689
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      See Attached                                                                        See Attached                       D   2.1
                                                                                                 Schedule D, Part 1                 E/F
                                                                                                                                    G




    2.2      See Attached                                                                                                           D
             Schedule H                                                                                                             E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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                                                                                  In re FGI Holding Company, LLC
                                                                                         Case No. 20-81689
                                                                                      Schedule H - Codebtors



               Name of Codebtor                   Address1               City             State         Zip                      Name of Creditor                Applicable Schedules (D, E/F, G)
32E PRODUCTIONS, LLC                       100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
32E PRODUCTIONS, LLC                       100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
32E PRODUCTIONS, LLC                       100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
BARNES BULLETS, LLC                        100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
BARNES BULLETS, LLC                        100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
BARNES BULLETS, LLC                        100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
FGI FINANCE, INC.                          100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
FGI FINANCE, INC.                          100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
FGI FINANCE, INC.                          100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
FGI HOLDING COMPANY, LLC                   100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
FGI HOLDING COMPANY, LLC                   100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
FGI HOLDING COMPANY, LLC                   100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
FGI Operating Company, Inc.                100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
FGI Operating Company, Inc.                100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
FGI Operating Company, Inc.                100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
GREAT OUTDOORS HOLDCO, LLC                 100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
GREAT OUTDOORS HOLDCO, LLC                 100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
GREAT OUTDOORS HOLDCO, LLC                 100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
HUNTSVILLE HOLDINGS LLC                    100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
HUNTSVILLE HOLDINGS LLC                    100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
HUNTSVILLE HOLDINGS LLC                    100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
OUTDOOR SERVICES, LLC                      100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
OUTDOOR SERVICES, LLC                      100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
OUTDOOR SERVICES, LLC                      100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
RA BRANDS, L.L.C.                          100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
RA BRANDS, L.L.C.                          100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
RA BRANDS, L.L.C.                          100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
REMINGTON ARMS COMPANY, LLC                100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
REMINGTON ARMS COMPANY, LLC                100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
REMINGTON ARMS COMPANY, LLC                100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
REMINGTON ARMS DISTRIBUTION COMPANY, LLC   100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
REMINGTON ARMS DISTRIBUTION COMPANY, LLC   100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
REMINGTON ARMS DISTRIBUTION COMPANY, LLC   100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
REMINGTON OUTDOOR COMPANY, INC.            100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
REMINGTON OUTDOOR COMPANY, INC.            100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
REMINGTON OUTDOOR COMPANY, INC.            100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D
TMRI INC.                                  100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (ETL)    D
TMRI INC.                                  100 Electronics Blvd SW   Huntsville      AL                   35824    ANKURA TRUST COMPANY, LLC, as agent (FILO)   D
TMRI INC.                                  100 Electronics Blvd SW   Huntsville      AL                   35824    CANTOR FITZGERALD SECURITIES, as agent       D




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Fill in this information to identify the case:

Debtor name         FGI Holding Company, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ALABAMA

Case number (if known)    20-81689
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 24, 2020                 X /s/ Mark Little
                                                           Signature of individual signing on behalf of debtor

                                                            Mark Little
                                                            Printed name

                                                            Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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                                    UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF ALABAMA
                                           NORTHERN DIVISION

                                                                           )
         In re:                                                            ) Chapter 11
                                                                           )
         REMINGTON OUTDOOR COMPANY, INC., et                               ) Case No. 20-81688 (CRJ)
         al., 1
                                                   )
                                    Debtors.       ) Jointly Administered
                                                   )
                        STATEMENT OF FINANCIAL AFFAIRS FOR
                     FGI HOLDING COMPANY, LLC (CASE NO. 20-81689)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522);
RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville,
Alabama 35824.




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 Fill in this information to identify the case:

 Debtor name         FGI Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-81689
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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 Debtor      FGI Holding Company, LLC                                                                       Case number (if known) 20-81689



           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        FGI Holding Company, LLC                                                                  Case number (if known) 20-81689



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.
                 See Global Notes
                                                                                                                                                              $0.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


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 Debtor      FGI Holding Company, LLC                                                                   Case number (if known) 20-81689




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Matthew Watts                                                                                                              September 2019
                    100 Electronics Blvd SW                                                                                                    through Current
                    Huntsville, AL 35824
       26a.2.       Michael Robinson                                                                                                           October 2017
                    100 Electronics Blvd SW                                                                                                    through September
                    Huntsville, AL 35824                                                                                                       2019

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Grant Thornton LLP                                                                                                         More than 10 years
                    201 South College Street
                    Suite 2500
                    Charlotte, NC 28244

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


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 Debtor      FGI Holding Company, LLC                                                                   Case number (if known) 20-81689



              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Matthew Watts
                    100 Electronics Blvd SW
                    Huntsville, AL 35824

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       See Global Notes



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ken D'Arcy                                     100 Electronics Blvd SW                             Chief Executive Officer               0%
                                                      Huntsville, AL 35824

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Chuck Rink                                     100 Electronics Blvd SW                             Chief Operating Officer               0%
                                                      Huntsville, AL 35824

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark Little                                    100 Electronics Blvd SW                             Chief Financial Officer               0%
                                                      Huntsville, AL 35824

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Remington Outdoor                              100 Electronics Blvd SW                             Owner                                 100%
       Company, Inc.                                  Huntsville, AL 35824



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?



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 Debtor      FGI Holding Company, LLC                                                                   Case number (if known) 20-81689




            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 24, 2020

 /s/ Mark Little                                                        Mark Little
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Financial Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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